                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:94CR40

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                         ORDER
TONY OSIAS (2),                     )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion to Terminate Supervised

Release,” filed October 11, 2005. On January 4, 1996, the Court sentenced Defendant to 142

months imprisonment and five (5) years supervised release. On September 4, 2002, Defendant

filed a Motion to Modify his sentence, specifically asking the Court to strike the twenty-first

condition of supervised release, which required him to reimburse the United States for the cost of

his court-appointed counsel. In an Order dated September 24, 2002, the Court denied

Defendant’s Motion to Modify his sentence. Defendant’s supervised release commenced on

August 6, 2004 in the Middle District of Florida and will expire on August 5, 2009.

       On December 14, 2004, the Government filed a Motion to Deny Travel Abroad, advising

the Court that Defendant had requested permission to travel Saudia Arabia for a religious

pilgrimage and asking the Court to deny such request. On December 21, 2004, the Court granted

the Government’s Motion to Deny Travel Abroad.

       Defendant now asks the Court to terminate his supervised release so that he can make the

Muslim Holy Pilgrimage to Mecca, Saudi Arabia. Defendant further desires to travel to his

parents’ home land as well as to see family in Haiti.

       In response, the United States Probation Officer supervising Defendant advises the Court



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that although Defendant is adjusting well to supervision, Defendant’s Motion should be denied.

       Taking into consideration the factors set forth in 18 U.S.C. § 3553(a), and after the

defendant has completed at least one year of supervised release, a court may terminate a term of

supervised release if the court is satisfied that such termination is warranted by the conduct of the

defendant and the interest of justice. 18 U.S.C. § 3583(e). Accordingly, the Court has

considered the relevant factors in 18 U.S.C. § 3553(a), the conduct of Defendant, the interests of

justice, and the recommendation of the United States Probation Office. Upon such review the

Court finds that termination of supervised release would be premature at this time.

       IT IS, THEREFORE, ORDERED, that Defendant’s Motion to Terminate Supervised

Release is hereby DENIED.

       The Clerk is directed to send copies of this Order to defense counsel, the United States

Attorney, and the United States Probation Office.




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                     Signed: December 13, 2005




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